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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

  In re:                                         Chapter 7

  DirectStream, LLC,                             Case No. 20-10534 (MFW)

                        Debtor.

                         NOTICE OF CHANGE FROM NO ASSET
                      TO ASSET AND REQUEST TO THE CLERK TO
                 FIX BAR DATE TO FILE CLAIMS AGAINST THE ESTATE

           PLEASE TAKE NOTICE that Don A. Beskrone, the duly appointed Chapter 7 Trustee

(the “Trustee”) in the above-captioned case (the “Case”), after due inquiry, having discovered

assets, hereby gives notice that this Case is an asset case. The Trustee also requests the Clerk to

fix a bar date to file claims against the estate of the Debtor.


                                               /s/ Don A. Beskrone
                                               Don A. Beskrone, Esquire (DE No.4308)
                                               Chapter 7 Panel Trustee
                                               P. O. Box 272
                                               Wilmington, DE 19899
                                               (302) 654-1888
                                               dbeskronetrustee@gmail.com


 Dated: April 3, 2020




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